                 Case 6:20-bk-02159-LVV                 Doc 87       Filed 04/23/20   Page 1 of 1

[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: April 23, 2020




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            ORLANDO DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                      Case No.
                                                                            6:20−bk−02159−LVV
                                                                            Chapter 11
FoodFirst Global Restaurants, Inc.



________Debtor*________/



     ORDER ABATING JOINT MOTION FOR AN ORDER ESTABLISHING A PROCEDURE FOR
                      CLAIMS AND GRANTING RELATED RELIEF

   THIS CASE came on for consideration, without hearing, of the Joint Motion for an Order Establishing a
Procedure for Claims and Granting Related Relief by the Debtor and PACA Creditors , Doc. # 76 . After
review, the Court determines that the motion , is deficient as follows:


         An attestation substantially in compliance with Local Rule 1001−2(e)(3)(B) was not included.



   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected.



The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
